Case 0:17-cv-62374-BB Document 28 Entered on FLSD Docket 05/29/2018 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE No. 17-cv-62374-BB

 WATSON MUSIC GROUP, LLC,

                Plaintiff,
 v.

 SPOTIFY USA INC.,

             Defendant.
 _____________________________________/

                        UNOPPOSED MOTION TO CONTINUE STAY

        The Plaintiff, Watson Music Group, LLC (“Watson” or “Plaintiff”) hereby moves for a

 continuation of the stay of this action pending the outcome of the appeal from the Order and

 Final Judgment Approving Class Action Settlement issued by the United States District Court for

 the Southern District of New York of the Motion to Approve Final Settlement of the class action

 styled Ferrick v. Spotify USA, Inc., Case No. 16-cv-8412 (AJN) (the “Ferrick Class Action”).

        On February 12, 2018 this Court entered an Order [DE 26] granting Plaintiff’s

 Unopposed Motion to Stay pending the determination of the motion for final approval of the

 Ferrick Class Action, administratively closing the case, terminating any pending deadlines and

 directing that “[t]he parties are to file the appropriate papers with the Court within seven (7)

 days of the Ferrick court’s determination of the motion to approve final settlement.”

        On May 22, 2018, the court in the Ferrick Class Action issued a Memorandum Opinion

 and Order which, among other things, approved the settlement of the Ferrick Class Action, a

 copy of which is attached hereto as Exhibit “A”. Thereafter, the court in the Ferrick Class

 Action issued a Corrected Order and Final Judgment Approving Class Action Settlement

 (“Ferrick Final Judgment”), a copy of which is attached hereto as Exhibit “B”.



                                                 1
Case 0:17-cv-62374-BB Document 28 Entered on FLSD Docket 05/29/2018 Page 2 of 4



         The Plaintiff in this case disagrees with the ruling of the court in the Ferrick Class Action

 and intends to take an appeal from the Ferrick Final Judgment. It is not known whether other

 parties will appeal the ruling as well, but there are multiple other parties who objected to the final

 settlement and were adversely affected by the ruling. In order to maintain the status quo and

 conserve judicial resources, Plaintiff requests that this Court continue the existing stay of this

 case until there is a final determination on appeal of the Ferrick Final Judgment. Defendant

 Spotify USA Inc. (“Spotify”) does not oppose this request. 1

           “District courts are vested with broad discretion to stay proceedings, which authority is

 incidental to their inherent powers to control their dockets and the course of particular litigation.”

 Warren v. Cook Sales, Inc., 2016 WL 10807227, at *1 (S.D. Ala., March 3, 2016). See also

 Clinton      v.    Jones,      520      U.S.     681,        706   (1997) (“The        District      Court      has

 broad discretion to stay proceedings as an incident to its power to control its own

 docket.”); Landis v. North American Co., 299 U.S. 248, 254-55, 57 (1936) (“[T]he power

 to stay proceedings is incidental to the power inherent in every court to control the disposition of

 the causes on its docket with economy of time and effort for itself, for counsel, and for

 litigants.”); Advanced Bodycare Solutions, LLC v. Thione Int’l, Inc., 524 F.3d 1235, 1241 (11th

 Cir. 2008) (“district courts have inherent, discretionary authority to issue stays in many

 circumstances”). “In determining whether to grant a stay, courts examine general factors such as

 whether a stay will unduly prejudice or tactically disadvantage the non-moving party; simplify

 the issues and streamline trial; and reduce the burden of litigation on the parties and on the




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   As in prior filings, Spotify expressly reserves any and all substantive and procedural defenses, including but not
 limited to any motions to dismiss under Rule 12. Spotify specifically reserves its objections and defenses based on
 lack of personal jurisdiction and improper venue, and reserves the right to make motions to dismiss on those grounds
 at the appropriate juncture.


                                                          2
Case 0:17-cv-62374-BB Document 28 Entered on FLSD Docket 05/29/2018 Page 3 of 4



 court.” Brent v. Source Interlink Distribution, LLC, 2014 WL 4162770, at *2 (M.D. Fla. Aug.

 21, 2014).

        Here, all of the pertinent factors strongly support the continuance of the stay: a stay will

 maintain the current status quo, not disadvantage Defendant and will significantly simplify the

 issues and reduce the burden of the parties and the Court in this action, because the outcome of

 the appeal of the Ferrick Final Judgment may be dispositive of the claims asserted here. See

 Bechtel Corp. v. Local 215, Laborers' Int'l Union of N. Am., AFL-CIO, 544 F.2d 1207, 1215 (3d

 Cir. 1976) (“In the exercise of its sound discretion, a court may hold one lawsuit in abeyance to

 abide the outcome of another which may substantially affect it or be dispositive of the issues.”).

        Accordingly, Plaintiff respectfully requests that the Court grant its motion to continue the

 stay this action pending final determination on appeal of the Ferrick Final Judgment.

 Respectfully submitted this 29th day of May, 2018.

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                                                      /s/ Seth P. Robert
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                                                  3
Case 0:17-cv-62374-BB Document 28 Entered on FLSD Docket 05/29/2018 Page 4 of 4



                              CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing was served via CM/ECF on

 May 29th, 2018, on the following:

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                                               4
